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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

REVLON CONSUMER
PRODUCTS LLC and ELIZABETH
ARDEN, INC.,
                              Plaintiﬀs,

                – against –

GIVE BACK BEAUTY S.A., GIVE                                     ORDER
BACK BEAUTY, LLC, GIVE BACK                                 24-cv-06438 (ER)
BEAUTY AMERICAS LLC, GIVE
BACK BEAUTY INTERNATIONAL
LLC, GIVE BACK BEAUTY
HOLDING LTD, VANESSA KIDD,
DOMINICK ROMEO, REID
MULVIHILL, and ASHLEY FASS,
                              Defendants.


RAMOS, D.J.:

         �e Court held a hearing yesterday on Plaintiﬀs’ motions for a preliminary

injunction and for expedited discovery. Docs. 42, 52. For the reasons set forth on the

record, the motion for a preliminary injunction is denied, but the Court will allow limited

discovery on an expedited basis. �e Court granted Defendants’ application to refer to

materials ﬁled under seal during argument. Doc. 81. Defendants’ evidentiary objections

and motion to strike are denied as moot. Docs. 74, 100. Plaintiﬀs’ motions for leave to

ﬁle materials under seal and to ﬁle excess pages are granted. Docs. 89, 90.

         �e Clerk of Court is respectfully directed to terminate the motions, Docs. 42, 52,

81, 89, 90, 100.


It is SO ORDERED.


Dated:    September 26, 2024
          New York, New York

                                                         EDGARDO RAMOS, U.S.D.J.
